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 9                      UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
      OCM GROUP USA INC.,                    Case No. 2:19-cv-08917 SB (KSx)
12

13                            Plaintiff,     EVIDENTIARY OBJECTIONS TO
                                             DECLARATION JEN-FENG LEE
14
            vs.
15                                           Hearing:
      LIN’S WAHA INTERNATIONAL
16
      CORP, a New York corporation; and      Date: July 23, 2021
17    DOES 1-10.                             Time: 8:30 a.m.
18
                                             Ctrm: 6C
                              Defendant.
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                                 EVIDENTIARY OBJECTIONS
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 1                              OBJECTIONS TO EVIDENCE
 2           Plaintiff OCM Group USA, Inc. (“Plaintiff” or “OCM”) submitted the
 3   declaration of Jen-Feng Lee (“Lee”) in support of its opposition to Defendant Lin’s
 4   Waha International Corp’s (“Defendant”) Motion for Attorneys’ Fees (the
 5   “Motion”). Lin’s Waha submits the following objections to OCM’s evidence and
 6   requests that the Court not consider such evidence in ruling on Defendant’s Motion.
 7      I.      DECLARATION OF JEN-FENG LEE
 8             Evidence                    Objection                   Ruling
 9                                 Privileged settlement
10    7. Aware of this matter
                                   communication. Fed. R.
11    being a low damages
                                   Evid. 408(a).
12    case, parties started

13    talking settlement early.
                                   Plaintiff’s use of
14    In or around December,
                                   settlement offers from
15    2019 (shortly after the
                                   Defendant to prove the
16    case filing date of
                                   substantive strength of its
17    10/16/2019), parties
                                   case (and that it
18    failed to reach a
                                   purportedly was
19    settlement of between
                                   reasonable for Plaintiff to
20    $10K and $1K, as
                                   pursue the case) is
21    reflected in LW’s New
                                   entirely inappropriate.
22    York counsel’s email
                                   Under Federal Rule of
23    dated 12/4/2019, 5:35
                                   Evidence 408, evidence
24    PM: “If the issue at hand
                                   of an offer to compromise
25    is money, I am sure there
                                   a disputed claim is
26    is a reasonable settlement
                                   inadmissible “to prove or
27    between your initial
                                   disprove the validity or
28
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                                   EVIDENTIARY OBJECTIONS
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 1    demand of $10,000 and      amount of a disputed
 2    our client's counter of    claim . . . .;” see also
 3    $1,000.” (LW’s New         Malave v. City of Los
 4    York counsel was Mr.       Angeles, 2018 WL
 5    Gaston Kroub).             5816097, at *4 (C.D. Cal.
 6                               July 25, 2018) (“[t]he
 7                               City's evidence of these
 8                               statements is inadmissible
 9                               [in connection with
10                               motion for attorneys’
11                               fees] because they were
12                               made during settlement
13                               negotiations and are
14                               proffered here to either
15                               ‘prove or disprove the
16                               validity ... of a disputed
17                               claim’”).
18

19    8. In Mr. Kroub’s email    Privileged settlement
20    dated 12/5/2019, 9:56      communication. Fed. R.
21    AM (as part of the early   Evid. 408(a).
22    settlement discussion
23    between parties), he       Plaintiff’s use of
24    appeared not to challenge settlement offers from
25    the liability but simply   Defendant to prove the
26    disputed the willfulness   substantive strength of its
27    portion. Mr. Kroub’s       case (and that it
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                                 EVIDENTIARY OBJECTIONS
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 1    email stated that LW no      purportedly was
 2    longer sold the accused      reasonable for Plaintiff to
 3    products that “I want to     pursue the case) is
 4    address the claim that       entirely inappropriate.
 5    LW is a willful infringer.   Under Federal Rule of
 6    According to my client,      Evidence 408, evidence
 7    there was no intentional     of an offer to compromise
 8    infringement.”               a disputed claim is
 9                                 inadmissible “to prove or
10                                 disprove the validity or
11                                 amount of a disputed
12                                 claim . . . .;” see also
13                                 Malave v. City of Los
14                                 Angeles, 2018 WL
15                                 5816097, at *4 (C.D. Cal.
16                                 July 25, 2018) (“[t]he
17                                 City's evidence of these
18                                 statements is inadmissible
19                                 [in connection with
20                                 motion for attorneys’
21                                 fees] because they were
22                                 made during settlement
23                                 negotiations and are
24                                 proffered here to either
25                                 ‘prove or disprove the
26                                 validity ... of a disputed
27                                 claim.”)
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                                   EVIDENTIARY OBJECTIONS
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 1

 2    10. In the first mediation, Privileged settlement
 3    under the guidance of Mr. communication. Fed. R.
 4    Kindred, a payment         Evid. 408(a).
 5    amount $10K was agreed,
 6    though parties did not     Plaintiff’s use of
 7    agree on the exact         settlement offers from
 8    payment mechanism.         Defendant to prove the
 9    OCM asked LW to pay        substantive strength of its
10    $10K for settlement and    case (and that it
11    dismissal of action. LW,   purportedly was
12    however, wished to “pay” reasonable for Plaintiff to
13    the $10K by making         pursue the case) is
14    purchase of the XPP        entirely inappropriate.
15    branded products from      Under Federal Rule of
16    OCM; LW’s proposal         Evidence 408, evidence
17    was for OCM to receive     of an offer to compromise
18    the $10K from LW over a a disputed claim is
19    period of time. OCM, in    inadmissible “to prove or
20    light of the market        disprove the validity or
21    confusion caused by        amount of a disputed
22    LW’s unauthorized sales    claim . . . .;” see also
23    of the XPP branded         Malave v. City of Los
24    products, refused such     Angeles, 2018 WL
25    “paying $10K by            5816097, at *4 (C.D. Cal.
26                               July 25, 2018) (“[t]he
      purchasing” model.
27                               City's evidence of these
      (There was also
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                                  EVIDENTIARY OBJECTIONS
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 1    suggestion of a combo     statements is inadmissible
 2    deal: LW paying some      [in connection with
 3    cash and “purchase as     motion for attorneys’
 4    paying” for other amount; fees] because they were
 5    no deal was reached.)     made during settlement
 6                              negotiations and are
 7                              proffered here to either
 8                              ‘prove or disprove the
 9                              validity ... of a disputed
10                              claim.”)
11

12    11. In the second         Privileged settlement
13    mediation, OCM’s          communication. Fed. R.
14    demand went up to $20K. Evid. 408(a).
15    Mediator suggested a
16    lower amount in the       Plaintiff’s use of
17    range of LW paying        settlement offers from
18    $13K. No settlement was   Defendant to prove the
19    reached.                  substantive strength of its
20                              case (and that it
21                              purportedly was
22                              reasonable for Plaintiff to
23                              pursue the case) is
24                              entirely inappropriate.
25                              Under Federal Rule of
26                              Evidence 408, evidence
27                              of an offer to compromise
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                                 EVIDENTIARY OBJECTIONS
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 1                               a disputed claim is
 2                               inadmissible “to prove or
 3                               disprove the validity or
 4                               amount of a disputed
 5                               claim . . . .;” see also
 6                               Malave v. City of Los
 7                               Angeles, 2018 WL
 8                               5816097, at *4 (C.D. Cal.
 9                               July 25, 2018) (“[t]he
10                               City's evidence of these
11                               statements is inadmissible
12                               [in connection with
13                               motion for attorneys’
14                               fees] because they were
15                               made during settlement
16                               negotiations and are
17                               proffered here to either
18                               ‘prove or disprove the
19                               validity ... of a disputed
20                               claim.”)
21

22    12. After all the MSJ      Privileged settlement
23    papers were submitted,     communication. Fed. R.
24    some sporadic settlement   Evid. 408(a).
25    discussion happened
26    between parties (via       Plaintiff’s use of
27    counsel) in the few days   settlement offers from
28
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                                 EVIDENTIARY OBJECTIONS
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 1    prior to the March 5,      Defendant to prove the
 2    2021 hearing. In the       substantive strength of its
 3    discussion, LW counsel     case (and that it
 4    suggested, pending         purportedly was
 5    approval from client, a    reasonable for Plaintiff to
 6    stipulated injunction      pursue the case) is
 7    along with a cash          entirely inappropriate.
 8    payment of no more than    Under Federal Rule of
 9    $1,000. In response,       Evidence 408, evidence
10    OCM demanded $25K          of an offer to compromise
11    payment mainly to cover    a disputed claim is
12    the amount of legal fees   inadmissible “to prove or
13    spent. No settlement was   disprove the validity or
14    reached.                   amount of a disputed
15                               claim . . . .;” see also
16                               Malave v. City of Los
17                               Angeles, 2018 WL
18                               5816097, at *4 (C.D. Cal.
19                               July 25, 2018) (“[t]he
20                               City's evidence of these
21                               statements is inadmissible
22                               [in connection with
23                               motion for attorneys’
24                               fees] because they were
25                               made during settlement
26                               negotiations and are
27                               proffered here to either
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                                 EVIDENTIARY OBJECTIONS
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 1                              ‘prove or disprove the
 2                              validity ... of a disputed
 3                              claim.”)
 4

 5

 6    Dated: July 8, 2021                     Respectfully submitted,

 7                                            witkow | baskin
 8
                                              By: /s/ Brandon J. Witkow
 9                                            Brandon J. Witkow
10
                                              Attorneys for Defendant
11                                            LIN’S WAHA INTERNATIONAL
12                                            CORP.
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                                EVIDENTIARY OBJECTIONS
